PLAINTIFF'S

16/19 Page: 1 of 61 PagbID #EXHIBIT

 

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Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 5 of 61 PagelD #: 18

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TE LAWN POLICgs DEPARTMENT
Pine Lawn, MISSOURI

BLAKENEY, STEVEN

 
   
    
 
  

 

Bs,

6250 Steve Marre Aven ne
Si. Louis, Missouri 63121

- Sergeant Steven Blakeney DSN# 448
Commander Field Operations/Investigations

COMPLAINT #. eneeevws
3 4-428-2624 4 DISPATCH

 

 
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Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 7 of 61 PagelD #: 20

xhibit D

GLENN A. EIDMAN
CHIEF OF POLICE

BUSINESS 314-432-8000
FAX 314-432-5691
EMERGENCY 911}

 

CREVE COEUR POLICE DEPARTMENT
306 N. NEW BALLAS RD.
CREVE COEUR, MO 63141-7501

Chief Willie Epps

Pine Lawn Police Department
6250 Steve Marre Ave

St. Louis, MO 63122

Chief Epps,

‘On behalf of the Creve Coeur Police Department, I wish to take this opportunity to thank you for your

support in assisting us with the United Mine Worker's of America rally in Creve Coeur on July 30, 2013,

Sgt. Blakeney provided exceptional service when responding to our Code 1000 call out. His
professionalism reflected greatly upon the Pine Lawn Police Department and the law enforcement
community.

Again, thank you for your support and please extend my gratitude to Sgt. Blakeney for a job well done.

Sincerely,

Cid oben. han

Glenn A. Eidman
Chief of Police

 

 
Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 8 of 61 PagelD #: 21

Jefferson County Sheriff's Office
PO Box 100
Hillsboro, MO 63056
Telephone (636) 797 -5000
Fax (836) 797-5049

Oliver “Glenn” Boyer Steven E. Melnbarg
Shoeviff Undershertif

   

October 15, 2013

Chief Willie Epps

Pine Lawn Police Department
6250 Steve Marre Ave

St. Lauis, MO 63121

Dear Chief Epps.

[ would like to extend my utmost sincere gratitude to you and the Pine Lawn Police Department for the
assistance that you gave to the Jefferson County Sheriff's Office after Shawn Nims ambushed and shot two of
our deputies,

Your willingness to offer immediate assistance of both manpower and/or equipment alowed us to bring &
violent situation to a quick resolve without the injury of any other law enforcement personnel. Please extend
our gratitude to cach officer from your agency that assisted us during this tragic event.

Should we ever be able to return the favor, you can count on us.

Sincerely,

 

Oliver "Ale
shertff of Jefferson County
Hillsboro, Missouri

OGBitb

P.S. tf Lmissed someone, [ am sure you can understand. It was a mistake on my part. Please accept my
apologies and please add them to the list.

 

 
Case: 4:19-cv-02017- ~— Doc. #: 1-2 Filed: 07/16/19 Page: 9 of 61 i col 22

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Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 10 of 61 PagelD #: 23

 

 

 

 

 

40 Continuing Education Hours

5 Hours Legal Studies Core Area ~ 14 Hours Interpersonal Skills Core Area
21 Hours Technical Studies Core Area
April 30 — May 4, 2012
Held at the St. Louis County & Municipal Potice Academy

 

 

 

Tibclonant R! Kevin Lawson, Director

CALEA St. Louis County and Municipal Police Academy
Accredited

& P.O.8.T. Approved Provider for Continuing Education
 

Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 11 of 61 PagelD #: 24

 

 

 

tiled

issued to

eve Blakeney

4 Continuing Education Hours

3 Hours Technical Studies Core - 1 Hour Leca!l Studies Core Arca
September 19, 2073
Neld at the Si. Ann Police Department — St. Ann, Missouri

Ligutenant R Kavin Lawson. Director

; . St Louis C icipal Pall cadems
CALEA ot. Louis County and Municipal Police Academ ¥
Accredited

 
 

4 P.O.3.T. Approved Provider for Continuing Education
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A6Q1 Mio Rivers MALL DRIVE
ST. PETERS, MISSOUR) 63276
536-922-8734 FAX 636-922-8725

LASTIRN MISSOURT POLN GE ACADEMY

 

presents this

Certificate of Completion

 

For 8-hrs in Law Enforcement Training in

 

Civil Disturbance Response

4-hirs Skill Development 4-hrs Technical Studies
10/16/2014

at
O'Fallon PD

    

Ronald S. Neubauer
Academy Director

This course meets Missouri POST requirements for continuing law
enforcement education hours. All course materials are properly filed and
maintained by the Eastern Missouri Law Enforcement Training Academy;

A POST approved provider.

 
Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 13 of 61 PagelD #: 26

 

This certifies that

has successfully completed
Continuing Education Training pee
} o [INTERPERSONAL
at Cape Girardeau, MO., in 1 PERSPECTIVES:
2 . ) LRGAL STUEHES
Firearms Instructor :

» TECHNICAL,

| STUDIES -
Handeuns-] |
BRIA near.
presented by the i DEVELOPMENT:

| PIREARMS 4
LAW ENFORCEMENT a
| TOTAL CONTINUING
ACADEMY EDUCATION CREDITS 40
AP.OS.T. Approved Provider

pouiheas Jeet

DM, Bichuel Brown, Direcror

 

 

 
Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 14 of 61 PagelD #: 27

 

 

 

 

| ‘has successfully completed?
Continuing B Eelucdtion Trajaing
at Maxbl Hill MO., fA

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_Firearms Ingeructor i

presented by the

ae

LAW ENFORCEMENT

| ACADEMY |

A P.O.S.T. Approved Provider
Duplicate

LECAL STUDIES

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STUDIES -

SKILL
DEVELOPMENT:

FIRNARRAS

TOTAL CONTINUING
EDUCATION CREDITS

 

 

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Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 15 of 61 PagelD #: 28

 

University of Central Missouri

Missouri Safety Center

awards

STEVEN BLAKENEY

Certification of Completion for 11.0 hours of instruction in

SOBRIETY CHECKPOINT SUPERVISOR

The POST approved program for:

6.0 Technical Studies
No. of CEH’s Core Curriculum Area

2.0 Skill Development
No. of CEH’s Core Curriculum Area

0.0 Interpersona! Perspectives
No. of CEH's Core Curriculum Area

1.0 Legal Studies
No. of CEH’s Core Curriculum Area

Meets the POST approved guidelines for CEH's
from this POST approved provider.
Given in
Festus, Missouri
on April 15, 2044

PINE LAWN POLICE DEPT.

Erk.

Director, Missouri Safety Center

a en

Administrator of Post Program
 

Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 16 of 61 PagelID #: 29

 

Missouri State

University

 

 

This certifies that

_ Steven Blakeney

has successfully completed

Continuing Education Training
at Cape Girardeau, MO., in
Racial Profiling

presented by the |
LAW ENFORCEMENT |
ACADEMY !

Cape Girardeau, MO :

AP.OS.T. Approved Provider

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Z

_ INTERPERSONAL
PERSPECTIVES

| LEGAL STUDIES

[ PECHMICAL
| STUDIES -

: SHILA,

DEVELOPMENT |
FIREARMS

FOTAL CONTINUING
ERUCA TION CREMITS 3

Octofer 3, HUG

 
Case: 4:4-cv-92017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 17 of 61 PagelD #: 30

Pine Lawn Police Department
6250 STEVE MARRE
ST. LOUIS, MO 63121
v- 314-261-0880 office 314-261-5502 fax

- ¢ “We are always working to serve you”

December 4, 2013

Gayla Kempker
P.O. Box 749
Jefferson City, MO 65102

Gayla,

I have recently accepted a position with the City of Pine Lawn Police Dept, where I am
the Detective, and also act as the Training Officer. | was hoping that you would receive
these certificate copies for Steven Blakeney and place them in his file. The certificates
hours add up to 244 hours total.

The break down on the hours are 23 Legal, 35 Interpersonal Perspectives, 117 Technical
Skilis, 55 Skill Development, 12 Firearms, and include the 3 hours of Racial Profiling,
Thank you so much for your time with this, and hope all is well.

I will miss seeing you all at the Audit!

Sincerely,

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Cae ee er (
Det. Lawrence Fleming 530

 

 
Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 18 of 61 PagelD #: 31

Pine Lawn P.D. POLICE DEPARTMENT
6250 STEVE MARRE
PINE LAWN, MO 63121
[314] 261-0880

MEMORANDUM

 

DATE:
TO:
FROM:
SUBJECT:

November 24, 2016
Honorable Mayor Caldwell / Police commisioner
P.O. Blakeney #448

6 MONTH STATS MAY 1°? THROUGH OCTOBER 31°"
2010

 

Sir,

Below are the stats generated from May thro October by the courts
department.

T issued the following violations while on duty:

Traffic Summons- 522
Misdemeanor Arrests- 80
Felony Arrests - 4
police reports 72

T also furthered my training by attending the following classes :

40 hours - State cerified field training Officer
40 hours - Patrol Investigations

S8hours - Patrol rifle qualifacation

3 hours - mandated racial profiling

Total hours intraining - 91

 

 
Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 19 of 61 PagelD #: 32

 

ST. LOUIS COUNTY, MISSOURI
POLICE DEPARTMENT

CERTIFICATE
OF
TRAINING

PRESENTED TO

 

PRESENTED THIS 26TH DAY
OF JANUARY, 2007

THIS CERTIFICATE OF TRAINING WILL ATTEST TO THE FACT THAT THE
ABOVE NAMED INDIVIDUAL HAS SUCCESSFULLY COMPLETED A 3.5-HOUR
TRAINING SESSION ON THE PROPER USE OF PEPPER SPRAY.

 

 

 

Jerry Lee Andre’ L.Edison
Colonel Jerry Lee Sgt. Andre’ L. Edison

Chief of Police Coordinator

 

 
 

  

e, 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 20 of 61 PagelD #: 33

 

 

 

 

Certification of Firearms
Proficiency & Safety T raining

On this, the 7th, dayof_Oct. ,200 6.

I certify that Mr/Ms._ Steven P, Blakeney
MOpyivers licence / ID. # RO501 4601 3

Has successfully and completely attended, participated in and passed the PACK-N-HEAT, INC. 8+ hour
handgun safety course. He / she has demonstrated, under live fire conditions, the ability to safely carry,
maintain and use concealable firearms as specified by the laws of the State.

 

 

Their instructor, Mr. Duaine Zeitz, 355 Versailles Dr. Florissant, Mo, 63031 (314-83 8-8763) is a Certified

NRA Pistol Marksmanship & Personal Protection Instructor # 4 d the author of “HANDGUNS:
COLD HARD FACTS & FANNY PACKS”.

 

 

Pack-N-Heat, Inc.
Utah license # L100860 Ect
van State of Utah . |

f * E ontater ee, oa [ Signature not valid without embossed seal ]

 

 
 

Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 21 of 61 PagelD #: 34

 

 

 

 

endance

For a 4 hour course entitled

    

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issued to

Steven Bizkency

4 Gontinuing Education Hours

Skill Development Core Area

April 27, 2007 a2

Held ai the St. Louis County & Municipal Police Academy A \

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A Captain Hen Gregory, Director
Accredited St. Louis County and Municipal Police Academy

 

A P.OS.7. Approved Provider tor Continuing Education
Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 22 of 61 PagelD #: 35

sa tieartland MMA, LLC
Ga il4 &. Main Stree
me Jackson, MO 63755

P(573) 275-5107
groundiehter200 Leumailcom

 

To Whom Tt May Concern:

Officer Steven Blakeney 258-357-8056 DSN #44, shot a passing score on a 100 round
rifle course consisting of shois at 100 yards, 50 yards and 25 yards. Minimum passing
score is 70%, Mr, Blakeney shot his qualification with an AR-15 Md type rifle during his
firearms instruction on June 14, 2082.

Officer Blakeney also shot a passing score on a shotgun course consisting of five rifled
slugs fired from 50 yards, 40 yards, and 25 yards. Double 00 buck fired from 25 yards,
15 yards, and 7 yards. Passing score is 70%.

Please feel free to contact me if vou have uny questions.
Stacerely,
Cente ie fi
avr iin, ee enn en
CET ge.

Lawrence Fleming >
PresidenvOwner 7

 
Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 23 of 61 PagelD #: 36

SAEN T Louris UNtY ER 8&3 TOY

DEPART MEN T OF PupLIc SAFETY

Certificate of completion for

IPMBA POLICE CYCLIST COURSE

issued tor

STEVEN P. BLAKENEY

This certificate is evidence of proficiéney in police
cycling coneepes and basic skills as derermined
by che standards ser by che larernational Police
Mountain Bike Association TPMBA}.

pos: OVOT/BO cre HICATE NUMER: 6 _ — ;
LOCATION: SAINT LOUIS UNIVERSITY, ST. LOUIS, MO. (U.S.A)

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THA PdoTRECTOR, #993

 

 

 
 

Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 24 of 61 PagelD #: 37

 

St. Louis Metropolitan Police Department
St. Louis Police Academy
Certificate of Completion

- for Lo
Law Enforcement Response to Active Shooter
issued to:
Steve Blakeney

St Louis University
4 Continuing Education hours in Technical Studies

Completed 10/31/07 _
at Forest Park Community College

WO ce

Lt. Joseph Hecht
St. Louis Police Academy

 

AP.O.S.T. approved provider for Continuing Education
Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 25 of 61 PagelD #: 38

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ST. LOUIS COUNTY, MISSOURI
POLICE DEPARTMENT

  
  

CERTIFICATE
OF
TRAINING

PRESENTED TO

PRESENTED THIS 26TH DAY
OF JANUARY, 2007

THIS CERTIFICATE OF TRAINING WILL ATTEST TO THE FACT THAT THE
ABOVE NAMED INDIVIDUAL HAS SUCCESSFULLY COMPLETED A 3.5-HOUR
TRAINING SESSION ON THE PROPER USE OF PEPPER SPRAY.

  
  

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Colonel Jerry Lee Sgt. Andre’ L, Edison
Chief of Police Coordinator

  

 

  
     
   
    
      
   

 

Jerry Lee Andre’ L.Edison |

  

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Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 26 of 61 PagelD #: 39

 

 

 

 

St. Louis Metropolitan Police Department
st. Louis Police Academy

Certificate of Completion

for

Law Enforcement Response to Active Shooter

issued to:

Steve Blakeney

St. Louis University
4 Continuing Education hours in Technical Studies

Completed 10/31/07
at Forest Park Community College

tO ce hg

Lt. Joseph Hecht
AP.O.3.7. approved provitter for Continuing Education St. Louis Police Academy

 
 

Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 27 of 61 PagelD #: 40

 

 

STEVEN BLAKENEY

THIS CERTIFICATE AFFIRMS THAT THE ABOVE NAMED PERSON HAS
SUCCESSFULLY COMPLETED A 100 ROUND QUALIFICATION COURSE IN

 

MINIMUM OF 70% GN 1060 ROUND COURSE FIRED FROM 100, 50, 25 varos

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LAWRENCE EU FLEMING

APPROVED INSTRUCTOR JULY 15, 2013
Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 28 of 61 PagelID #: 41

 

   

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Southeast ONE UNIVERSITY PLACA + GAPE GIRARDEAU, MISSOURTGS701-4750 » (G73) 651-2000 = htlpiiwww.gamo.edu
Hissourl Stata University
par eer ete: sf

 

 

 

 

May | 5, 2016

To whom it may concern:

Mr. Steven Blakeney shot a passing score on a 100 round rifle course consisting of torso
shots at 100 yards, and head shots at 50 yards. Minimum passing scare is 70%. Mr.
Blakeney shot his qualification with ar AR-15 M4 type rifle during his firearms
instruction on May 13, 2010.

Sincerely,

at

 

Lawrence F leming 0-7
Training Specialist”
Law Enforcement Academy

Baperience Soulneiie iogtcraica We cess

 
 

Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 29 of 61 PagelD #: 42

 

 

  

 

 

For a 4 hour course entitled

Fire

 

ms Qualification

issued to

Steve Blakeney

4 Continuing Education Hours

Skil Firearms Development Core Area

CALEA
Accredited

A B.&.8.F. Appr a

August 16, 2644
Held at Eureka, Missauri

Liguienant R. Kevin Lawson, Director
St. Louis County and Municipal! Police Academy

 

 

veil Provider for Continuing Education
 

Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 30 of 61 PagelD #: 43

 

  

 

 

For a 6 hour course entitled

TASE

 

 

issued to

Steven Biakeney

& Continuing Education Hours

Technical Studies Core Area
November 19, 2071
Held at the Pine Lawn Police Department St. Louis, Missouri

- Ligutenant Ri Kevin Lawson, Director
Si. Louis County and Municipal Police Academy

 

Ascredited

AP.O.S.7. Approved Provider for Continuing Education
 

Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 31 of 61 PagelD #: 44

 

 

24 Continuing Education Hours

1 Flour Legal Studies Core Area ~ 2 Hours Interpersonal Skills Core Area
21 Hours Technical Studies Core Area
Sepiember 15-17, 20716
Held al the St. Louis, Missouri

Liéuienant RX Kevin Lawson, Director
St. Louis County and Municipal Police Academy

 

Accredited
AP.O.S.T. Approved Provider for Continuing Education
 

 

Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 32 of 61 PagelD #: 45

 

 

 

Missouri State.

VE R SS

 

NONCREDIT PROGRAMS

presents this certificate to

Steven Blakeney

13 hours of continuing law enforcement education

May 22-24, 2013

Missouri State Investigators Association Annual Conference, Lake Ozark, Missouri.

This course is formatted to meet Missouri POST requirements for Approved Provider Continuing Education Hours
(minimum of 24 hours per 3 year reporting period). Records are maintained by Missouri State Outreach Noncredit Programs at the

Kenneth E. Meyer Alumni Center.

CEHs in the subject area of Legal Studies

CEHs in the subject area of Technical Skills

6 3
_§ CEHs in the subject area of Interpersonal Perspectives 4 CEHs in the subject area of Skill Development

 

 

 

 

 

 

 

 

 

 

Crime Scene Investigations OTS | Courtroom Testimony 3LS
Crime Scene Investigations Practical $SD |Synthetic Drng Update OTS
Active Sheeter Concepts & Practical 48D | Capturing Digital Evidence OTS
Human Trafficking OTS |Surveillance Techniques & Equipment 3TS
Basic Technology Based Investigations OTS |Legal Updates 3LS
Surviving the Violet Inirnder OTS

 

 

Assodiate Provost for Outreach

aa, FP

Noncredit bfogram CoordipSter

 

 

 
 

Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 33 of 61 PagelID #: 46

 

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©
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University of Central
Missouri Safety Center

awards

STEVEN BLAKENEY

Ceriification of Compietion for 20 pours of instruction in

CRASH INVESTIGATION |

The POST approved program for:

14.0 Technical Studies

 

 

 

No of CEH's Core Corrisulum Area

6.0 skill Development

Ne. of GCEH's Core Curriculum Ares

0.0 interpersonal Perspectives
No. of CEN's Gore Curriculum Area ~~
0.0 Legal Studies

Na. of CEH!'s Core Curriculum Ares

 

Meets the Missouri POST approved guidelines fer CEH’s
from this Missouri POST approved provider.

 

 

Given in
Kansas City, Missouri oy “TE iccecflens
on January 27, 2074 FReriInt Diner Missoun Sa@ery C
iat Lawn
SSN: 258-57-B056 AGMISTSIO GT Past Pregram
PINE LAWN POLICE DEPT. Fagh EO SYeeer

 

Program Manaqer
Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 34 of 61 PagelD #: 47

 

Missouri Siate Univer

 

This certifies that

Tt

has successfully completed
Continuing Education Training
at St. Louis, MO., in:

Patrol Rifle Phase |

Orientation
presented by the
LAW ENFORCEMENT

— ACADEMY

AP.OS.T. Approved Provider

that,

f. Michac} Brown Director.

| INTLIPERSONAL

PERSPECTIVES _

LEGAL STUDIES

DEVELOPMENT.

PRL ARMIES

» TOTAL CONTINUING
> EBUCATION CREDITS

Fine 13, 2010

 
 

Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 35 of 61 PagelD #: 48

CERTIFICATE OF COMPLETION

 

 

THIS CERTIFICATE AFFIRMS THAT THE ABOVE NAMED PERSON HAS
SUCCESSFULLY COMPLETED A 100 ROUND QUALIFICATION COURSEIN

 

 

LAWRENCE E. FLEMING — S OCTORER 11,2012
APPROVED INSTRUCTOR”
Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 36 of 61 PagelD #: 49

 

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General Manage

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teven Blakeney

successfully completed the troining requirements for

 

Full Law Enforcement Inquiry

Completed on 6/13/2013 Expires on 6/13/2015

  

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Case: 4:19-cv-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 37 of 61 PagelD #: 50

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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FROYONEE HN

A computer record processing and telecommunications network for criminal justice agencies
in the {Hinois areas of Madison, Monroe and St. Clair Counties, and the Missouri areas of the
City of Si. Louis, Franklin, Jefferson, St. Charles and St. Louis Counties.

CERTIFIES THAT

Steven Blakeney

HAS SATISFACTORILY COMPLETED THE ON-LINE TEST
Level 001 (BAS, DOR, PEI, VEI, MUI & MSG)
COMPLETED ON:

June 12,2013

AND IS QUALIFIED AS DEFINED IN THE CURRICULUM FOR THIS COURSE.

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GENERAL MANAGER, REJIS REJS TRANG SUPERVISOR

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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TASER Electronic Control Device

USER CERTIFICATE

STEVEN BLAKENEY

This certifies that the above named individual (STEVEN BLAKENEY) has completed the training required and has
Dassed a written examination in the use of the TASER X26 Electronic Control Device. By accepting this User Certificate,
the Student accepts the terms of the Training Materials License Agreement, incorporated herein by reference, and agrees
to be bound by its terms as a Licensee of TASER International, inc. This certification is good for one year.

Instructor: Oo Maladl LG Date ; AY |

(P.O HAMZEHZADEH DSN 452)

 
 

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STEVEN BLAKENEY

THIS CERTIFICATE AFFIRMS THAT THE ABOVE NAMED PERSON HAS
SUCCESSFULLY COMPLETED A GO ROUND QUALIFICATION COURSE IN

 

MINIMUM OF 70% Oly 60 ROUND COURSE FIRED USING A MissouURi P.O.S.T. APPROVED HANDGUN COURSE.

AoE

 

LAWRENCE FE. FLEMING JuLy 15, 2013
APPROVED INSTRUCTOR
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Missouri State.

Vv ERs IT Y

 

NONCREDIT PROGRAMS

presents this certificate to
Steven Blakeney
3 hours of continuing law enforcement education
May 21-23, 2014
Missouri State Investigaters Association Annual Conference, Lake Ozark, Missouri.

This course is formatted to meet Missouri POST requirements for Approved Provider Continuing Education Hours
(minimum of 24 hours per 3 year reporting period). Records are maintained by Missouri State Outreach Noncredit Programs at the
Kenneth E. Meyer Alumni Center.

 

 

 

 

 

 

_0 CEHs in the subject area of Legal Studies _3_ CEHs in the subject area of Technical Skills

6 CERHs in the subject area of Interpersonal Perspectives _0 CEHs in the subject area of Skill Development
Retail Theft and Organized Theft 6 Coroner’s Duties in Death Investigations ] 0
Crisis Negotiator for Risk/Special Threat Situations 0 Domestic Violence Investigations 0
Crime Scene Photography 0 Human Trafficking 0
Case Preparation 0 Interviewing Witnesses/ Suspects 0
Death Investigation 3 Racial Profiling 0
Art of Report Writing 0

 

 

 

 

 

 

   

Assodiate’Provost for Outreach

 

 

 
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REMOTE Training Consultants

presents to,

Steve Blakeney

a Certificate of Completion Of

9 Hours of Law Enforcement Continuing Education for:

Law Enforcement Survival Tactics

held on December 5, 2012 in St. Louis, MO

credit is issued in the following categories:

Skill Development--I hour
Technical Study--5 hours
Interpersonal Perspectives--3 hours

Redgey Quen

Patrolmani/Lead Instructor
REMOTE Training Consultants

The Missouri POST Program has approved this course for “In-Service Training’ credit,
(maximum of 24 hours per three (3) year reporting period).

 
 

 

 

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STATE OF MISSOURI
DEPARTMENT OF HEALTH AND SENIOR SERVICES
BREATH ALCOHOL PROGRAM

PERMIT
TYPE Ill

STEVEN BLAKENEY

is hereby authorized to operate the following breath anaiyzer(s):

 

 

ALCO-SENSOR IV WITH PRINTER

for the determination of the alcoholic content of blood from a sampie of expired air. Permit issued under the provisions of

 

 

DATE 1/3/2013

BIRECTOR OF STATE PUBLIC HEALTH LASORATORY

 

  

 

 

N 323658 c )
expines —_1/3/2015 Acting Directo?
BIRECTOR OF DEPARTMENT OF HEALTH AND SENIOA SEAVICES

MO S80-0772 {8-10} 1AB-6 (RS-40}
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Case

 

 

Southeast Missouri State University
Law Enforcement Academy
Cape Girardeau, Missouri
This is to certify that on

November 20, 2009
Steven P. Blakeney

Satisfactorily Completed the
Class A Basic Police Training
Course as Required by the Missouri
Police Standards and Training Act

    

Left Lb he
chael Brown
Acadeniy Director

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ae ONE UNIVERSITY PLAZA + CAPE GIRANDEAU, MISSOURI GI7Otd799 © I87ay8s1eN0 « htto-eewew.serno.edu
Missouri Stata University

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heen

November 11, 2009

To whom it may concern:

it is a pleasure to take this opportunity to write this letter of recommendation for Steven
P. Blakeney. I have known Steven since he began the academy on August 3"! 2009,
Throughout the academy I have had extensive contact with him. During that time, | have
the plessure of working closely during his instruction, which will last until November
20" 2009.

Steven works very hard during his time in the academy. Steven demonstrates a high level
of imtiative, and is judicious i in Carrying out assignments without direction. Steven seeks
opportunities for self-improvement. Steven dogs not leave his desire to learn in the
classroom, as he attends extended practice sessions so he can continue to grow and
improve.

In group projects, Steven strives for maximum team performance, and recognizes the
many benefits of spirited teamwork.

It is without reservation that [recommend Steven for any position that he would choose
to undertake.

Sincerely, ws

 

Lawrence Fleming
Training Specialist
Law Enforcement Academy

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Missourt State University

LAW ENFORCEMENT ACADEMY

November 20, 2009

This memorandum certifies that on this date Steven P, Blakeney participated in a
Marijuana Odor Identification Exercise conducted as part of the classroom instruction for
the Class A Law Enforcemient Academy,

This simulation was produced through the use of Marijuana Odor [dentification Tablets,
and the above student was exposed to the adar,

The instructor in this exercise was Lawrence Fleming of the Academy staff.

Dr. Michael Brown
Director

Qie Lintversity Plaza
MS 3200
Cane Girardean, Missouri 63701
573-299-5116

 

 
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Southeast
Missourl State Universit

 

LAW ENFORCEMENT ACADEMY

November 20, 2009

Tins memorandum certifies that on September 4, 2009, Steven Blakeney parucipated in
RADAR training as an operator of Doppler RADAR. This field training, in addition to
classroom instruction [or the 640 Hour Law Enforcement Academy, is sufficient to
certify him for the use of the RADAR,

The staff instructor for Introduction to Traffic RADAR and RADAR Practical exercises
was Mark Wyatt.

\ Silat baa

Dr. Michael Brown
Director

One University Plaga
MS 5200
Cape Girardeau, Missouri 63701
573-290-5410

 

 
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Missou rn

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sity

 

THIS CERTIFICATE Is
PRESENTED fT

steven FP. Blakeney

UPON COMPLETING THE 40-HOUR
COURSE IN COMPONENTS
OF
KRAV MAGA, JIU ¥rTSsT
AND GROUND FIGHTING
WHIGH COMPRISE

BASIC ATTACK
DEFENSE

 

Lawrence Fleming, mstractox / 20 November 2009

 
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STEVER BLAKENEY

HAS SUCCESSFULLY COMPLETED
THE REQUIRED TYPE III TRAINING AS
SPECIFIED BY THE
Southeast MISSOURI DEPARTMENT OF HEALTH

Missouri State University CONSISTING OF:

 

 

 

 

 

 

SLOOD ALCOHOL CONCENTRATION
DATAMASTER INSTRUMENT

 

  
 
 

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STANDARD FIELD SOBRIETY TESTING D
¥S & DRUGS THAT IMPAIR

DETECTION AND LAV

 

Southeast Missouri
Liha LOL, oe State University

Law Enforcement Academy
Michael Brewn, Directar

 

ene enc September 22, 23, 24, 2069
Kevin Eudy, Instructog
 

 

National Highway Traffic Safety Administration

 

24 Hour Basic Course

was comploted by

Steven P. Blakeney

and administrated by

   

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Southeast

Missouri State University Southeast Missouri @tate University
*s Law Enforcement Aeademy
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September 21, 22, #4 99
Cape Girardeau, Mieeour

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Dr.

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ichael Brown Gary Burehell
 

 

 

 

 

 

 

 

STEVEN

HAS SUCCESS F
THE LAW ENFOR

 

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Cc | .
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EARL BD. HAWKINS, INSTRUCTOR eO NovEeEMSBER 2008
 

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wen

 

 

CERTIFICATE OF COMPLETION

 

 

THIS CERTIFICATE AFFIRMS THAT THE ABOVE NAMED PERSON HAS
SUCCESSFULLY COMPLETED THE &- HOUR TRAINING COURSE IN

 

AS REQUIRED IN 571.094 RSMc. For ConceaLen CARRY APPLICATION

 

LAWRENCE E.FLEMING = -~ NOvEMBER 7, 2008

APPROVED INSTRUCTOR
-Cy-02017-SNLJ Doc. #: 1-2 Filed: 07/16/19 Page: 53 of 61 PagelD #: 66

 
     
 

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Southeast ONE UMIVERSITY PLAS « CAPE GIRARDEAU, MISSOURI 687011790 « (573) G3b-2000 - htlesAvwe. gama. ochs
Missouri Stal University
RE Re RE

 

Law Enforcement Academ ¥
One University Plaza, MS 5200
Cape Girardeau MO 63701

Sepiember 23, 2009.

To Whom It May Concern:

Steven P. Blakeney is curently attending the Law Enforcement Academy's Summer
Class A (640 hours) basic course. His current academic average is: 92%. Tuition cost
is $4,000.00 for 640 contact hours which began August 3 and graduates on November
20, 2009. Classes are conducted fron: 8:00 am to 5:00 pm, Monday through Friday.
Upon completion of this course, Mr, Blakeney will participate in the Missouri Peace
Officer Standards and Training licensing exam, for a Class A Certification. If you have
any questions feel free to call (573) 290-5110.

Sincerely,

Sheila Banville
Administrative Assistant

iexperience Southeast Pupernnce syrcesy

 

 
 

 

 

, ‘This Certificate of Achievement is to acknowledge that

_ STEVEN P. BLAKENEY

has reaffirmed a dedication to serve in times of crisis through continued

professional development and completion of this course:

Oe, 1$-00200

“2 ICS for Single Resources and
Initial Action Incidents

issued this 27th Day of January, 2008

  

Lawrence, PhD
Superintendent
Emergency Management {nstituts

 

 

 

 

 

FEMA Form 2611, October 25

 

 

 

 

 

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cknowledge that
STEVEN P. BLAKENEY

has reaffirmed a dedication to serve in times of crisis through continaed
professioiial development and completion of this course:

This Certificate of Achievement is te a

Is-00700
National Incident Management System

(NIMS), Ar Introduction
Issued this 27th Day af January, 2008

FEMA Form U-3L, October 05

  

Lawrence, PhD

  

 

 

Superintendent

 

 

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This Certificate of Achievement is to acknowledge that
STEVEN P. BLAKENEY

has reaffirmed a dedication to serve in times of crisis through continued
professional development and completion of this course:

1S-00100.LE
Introduction to the Incident Command Systent, “

I-160 for Law Enforcement? oe
Issued this 27th Day of Januaiy, 2008

   
  

Loe

  

z Lawrence, PhD
Superintandent:
Emergency Management Inatitute

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6.3 CEU
FEMA Fora tei, Octaber oF

 

 

 

 

 

 
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Gepartnedt of Pallic Safety

22 North Grand Routevard

 

St. Louis, MAGS Ts

SAINT LOUIS —
UNTVERSITY Ah g77 387

 

September 14, 2007

To Wher it May Concern:
RE: Letter of Recommendation

Stephen Blakeney has worked for the Department of Public Safety since April of 2007. He is currently
an armed officer assigned to Saint Louis University. He has demonstrated good work ethic and i
personally have worked with him with our Alcohol Response Unit here at the University. Officer

Blakeney is developing into an experience officer at our institution.

Without reservations | can recommend hirn as a good candidate for the police department His
dedication to this University and the safety of aur students is very apparent.

—_
\ . oe fi—
BHM | hoe
S/dex A. Titone

UDiractor of Public Safety
Saint Louis University

 
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NEW ATUIENS POLICE DEPT
905 Spotsylvania
Naw Athens, lHinalg G2264
GiB-A75-2145

618-4 76-2133/210-0000
Fax: 618-475-9269

May 6, 2008

To Whom it May Cancem,

This is in reference to Steve Blakeney. Although he was here only a short time, he was a good officer, and
showed considerable promise.

Unfortunately our budgefdid not allow us to work him as much as | would have liked.

Sincerely,

Chief Bill Rainey
Dan #24

 
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EASTERN ALISSOURL POLICE ACADEMS
AGO! MID RIVERS MALL DRIVE
ST, PETERS, MISSOURI 63376

636-922-8724 FAK 636-922-8725

September 2, 2008
Mr. Steven Blakeney
42°77 Snelson
St. Louis, MO 63129

Dear Mr. Blakeney:

I am writing this letter at your request regarding the stated reason for your
leaving the Eastern Missouri Police Academy.

Our records reflect that you voluntarily withdrew from the academy on
October 30, 2003. The reason stated for the action is personal. There is no other
indication on the withdrawal form for your departure. I have included a copy of
the form with this letter. .

Our conversation also indicated that you desired to obtain information as
to who may have accessed your file, Our records reflect that only two individuals
have reviewed your student file, Detective Patrick York of the Millstadt Police
Department, and Chief Larry Kirk of the New Athens Police Department. 1 have
included a copy of both requests and signed releases with this letter. 1 have also
included a copy of my memo for the record indicating to Detective York that we
would not release any information over the telephone other than the fact that you
voluntarily withdrew from the Academy.

T trust that this information will be of use to you.

Sipserciy yours,
(fn

Ronald S. Neubawer
Executive Director

 

 

 
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4001 Mid RIVERS Mare. DRive
. PETERS, Missaur!: G3376
GS6-922-8724 FAX 636-922.9725

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P yor

December 4. 2007

To Whom It May Concern:

lam writing to provicle a letter certifying the blocks of instruction that Mr.
Steven Blakeney comple ted before his withdrawal fram this Academy in October
ot 200%.

Mr. Blakenay was admitted into our Reeriit Class :3- 03. The class began
training on June 30, 200%. Mr. Blakeney contpleted 513 hours of classroom
presentation, The fc lowing blocks of instruction were provided during his time
with the Academy,

CLASS TITLE HOURS
Orientation/Rules & Regulations 6
Basie Study Skills 2
Police Protoco! 4
Career Preparation 2
Tactical Communications 16
Communications Obstacles 8
Cultural Diversity 8
Crisis Intervention/ Domestic Violence 4a
Dealing with Death 2
stress Management 2
Family Night 4
Dealing with Aggressive Behavior &
Constitutional Law 4o
Missouri Statutory Law 36
Patrot (less Hazmat and DARE) 72
Juvenile Justice and Procedures 20
Criminal Investigation (ess interrogation and Case/Trial Prep) 35
County & Municipal Offense Invest. ad ss Auto, Bad Chee k, a9
Sexral Assault, Arson, Bomb and Explosives invest. j
Defensive Tactics 84

TOTAL HOURS 428

 

 
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_ + Inaddition to those classes that were completed as indicated above, Mr.
Blakeney spent a number of additional hours ,

NAME HOURS TAKEN
Physical Training 39
po it 2s 12
Traffic 22
‘Survival Spanish 12
TOTAL 85

If there are any questions regarding this certification please do not hesitate
to contact me at (636) 922-8724.

 

Subscribed and sworn to before me this -4{ day of Deon ley, 2007.
I am commissioned as a notary public within the county of St. Charles, State of

Missouri, and my commission expires on Got 3, 2011.

Ceaar$ Hzest-

Notary Public

 

 

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